                          IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                  CRINIIINAL NO.:3:15cr250‑RJC

UNITED STATES OF AMERICA.                               )

                                                        )        CONSENT ORDER AND
        V.                                              )      JUDGMENT OF FORFEITURE
                                                        )      PENDING RULE 32.2(c)(2)
(2)HECTOR NIIERAZ                                       )




        BASED UPON the Defendant's plea of guilty and linding that there is a nexus between
the property listed below and the offense(s) to which the Defendant has pled guilty and that the
Defendant (or any combination of Defendants in this case) has or had a possessory interest or
other legal interest in the property, IT IS HEREBY ORDERED THAT:

        1.     The following property is forfeited to the United States pursuant to 21 U.S.C. $
853, provided, however, that forfeiture of specific assets is subject to any and all third party
petitions under 21 U.S.C. $ 853(n), pending final adjudication herein:

        One 2005 Chevrolet Express G1500 Cargo van, VIN #: 1GBFG15T151260122

       2. The United States Marshals Service, the investigative agency, and/or the agency
contractor is authorized to take possession and maintain custody of the above specific asset(s).

        3.      If and to the extent required by Fed. R. Crim. P.32.2(b)(6),21 U.S.C. $ 853(n).
and/or other applicable law, the United States shall publish notice and provide direct written
notice of fbrf'eiture.

'       4. Any person, other than the Defendant, asserting any legal interest in the property
may,   within thirty days of the publication of notice or the receipt of notice, whichever is earlier,
petition the court tbr a hearing to adjudicate the validity of the alleged interest.

'       5. Pursuant to Fed. R. Crim. P. 32.2(b)(3), upon entry of this order, the United States
Attorney's Office is authorized to conduct any discovery needed to identifu, locate, or dispose of
the property, including depositions, interrogatories, and request for production of documents, and
to issue subpoenas pursuant to Fed. R. Civ. P. 45.

        6.      As to any specifrc assets, following the Court's disposition of all timely petitions,
a final order of fortbiture shall be entered. If no third party files a timely petition. this order shall
become the final order of fort'eiture, as provided by Fed. R. Crim. P.32.2(c)(2), and the United
States shall have clear title to the property, and shall dispose of the property according to law.




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       The parties stipulate and agree that the aforementioned asset(s) constitute property
derived liom or traceable to proceeds of Def'endant's crime(s) herein or property used in any
manner to facilitate the commission of such ofl'ense(s) and are therefore subject to fbrfeiture
pursuant to 21 U.S.C. $ 853. The Defendant hereby waives the requirements of Fed. R. Crim. P.
32.2 and 43(a) regarding notice of the forfeiture in the charging instrument, announcement of the
forfeiture at sentencing, and incorporation of the forfbiture in the judgment against Defbndant. If
the Defendant has previously submitted a claim in response to an adrninistrative forfeiture
proceeding regarding any of this property, Defendant hereby withdraws that claim. If Defendant
has not previously submitted such a claim. Defendant hereby waives all right to do so.



ЛLL   WESTMOMLAND ROSE
UNITED:STATES ATTORNEY



Assistant United States Attomey                      Defendant




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                   幽町        fDecember,2015。




                                             UNITED STATES




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